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                                    UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

  RE: Lazaro Gonzalez                                                              CASE NUMBER: 25-10792 CLC

                       TRUSTEE'S NOTICE OF DEFICIENCY AND RECOMMENDATION
                         (If this case is dismissed, this deficiency is an objection to reinstate)

The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee's letter or
requirements under the Bankruptcy Code and Rules. The Trustee reserves the right to raise additional objections UNTIL
all documents are provided to the Trustee and reviewed for issues raised and additional documents needed. See Court
Notice of Commencement for additional information and Trustee's website www.CH13miami.com for forms and
  rocedures.
As appropriate, all written responses or documents must be received through BKDOCS.US or filed with the Clerk by
5pm at least 15 days prior to the first confirmation hearing or agreed deadline if confirmation is continued. Pro Se
debtors may fax documents to 954-443-4452. Late documents may not be reviewed or considered, and this case may be
at risk of dismissal. The Trustee's Office has a "Pre-call" date, THE THURSDAY PRIOR TO THE HEARING.
During this period, the Debtor's or Creditor's attorney must call and speak to the Trustee's staff attorney unless they
agree to the Trustee's recommendation. A final calendar will be published with any changes of this recommendation the
da before the hearin on the front a e of the Trustee's website.
      ***RECOMMENDATIONS ARE CHANGED UPON REVIEW OF DOCUMENTS NOT RECEIPT***
  THE DEBTOR'S ATTORNEY OR SELF REPRESENTED DEBTOR MUST APPEAR AT THE CONFIRMATION
  HEARJNG OR THE CASE MAY BE DISMISSED

  Trustee Recommendation for hearing                                               LAST REVIEWED: 7114/2025

  Plan served 6/4                                     Objection to Exemption: vehicle undervalued
  If debtor's counsel appears, confirms service, agrees to vesting and the recommendation on the record:
  Debtor to file or provide written explanation and evidence at least 15 days prior to the first confirmation hearing:

               I Documents required prior to the Trustee conducting or concluding the meeting of creditors:
  (Trustee reserves the right to recall meeting of creditors until all documents in this section are provided and reviewed):

  IZI   Bank Account Statements: IZI 3 months pre-petition (ending on the date of the petition):#6322(03/01-05/30/25)
        From Bank Statements:
        0 Copy of check(s) and explanation/evidence of use over $999.991
        0 Explanation of withdrawal/debit/transfer and evidence of use over $999.991
  0     Domestic Support Obligation form (complete with name, address, and phone number)

                                 II Plan issues to resolve prior to the confirmation hearing:

  0    Attorney fee itemization or Fee Application needed (see court guideline 6)
  IZI  2016(b ), SOPA # 16 and Plan do not match
  0    Motion in plan not filed: 0 MMM 0 Valuation 0 Lien Avoidance Motion 0 SLP Notice and/or Motion
  0    Plan does not fund properly1
  0    Amend Plan to include in other provisions: 0 IVL (Miami) 0100% 0 Lawsuit 0 Gambling 0 MMM
  0    Plan does not disclose treatment of all Sch D, E or G creditors1
  0    Creditor in Plan is not listed in Schedules or has not filed a POC1
  0    Creditor paid through the Plan has not filed a POC1
  1Zi Object or Conform to Proof of Claim:POC #3, POC #6, POC #8
      IZI IRS(Estimated 2023) 0 Miami-Dade County 0 Tax Certificate (DE#_ ) 0 Dept of Revenue
  O Amend Plan to include and/or to correct the court claim# for creditor in Section(s)l
  0 OTHER PLAN ISSUES1
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 0    Ch 7 is $3,975.74 may increase until all documents received and reviewed
 D    Good faith payment to unsecured creditors
 D    100% Plan issue with filed claims

                                 III Documents required prior to the confirmation hearing:

 D  FMV Carmax (Not online offer) or J.D. Power,.:.
Debtor has a business or self-employed: Self-Employed(Plumber Assistant)
  0 Profit/Loss(Most Recent) 0 Balance Sheet D Inventory D Other.:.
  0 Business Bank statements and checks: 0 3 months pre-petition (ending on the date of the petition),;,
       From Bank Statements,;,
       D Copy of check(s) and explanation/evidence of use over $999.99.:,
       D Explanation of withdrawal/debit/transfer and evidence of use over $999.99.:,
0 Affidavit of support D Affidavit of rent/lease
0 LF 76 (Attorney Compliance with Claims Review) Bar Date:08/ll/2025
D Other,;,
                       Legal issues to resolve prior to the confirmation hearing (reviewed at 341)

0 Proof of household size (government ID w/ address) and income of all adults disclosed on Sch J and CMI
0 income from Pine Roofing Services
0 Object to Schedule J Expenses: but 100% plan or over median
0 Expenses: documentation/calculation:       CMI Form Bl22C-2 line 16, 17, 25, 41
0 Plan does not pay debtor's calculation of disposable income CMI/DI $4974.83 x 60 = $298,489.80
0 Trace funds received for sale of 2016 Silverado and information on purchaser
D Info on transfer SOFA               undisclosed              D provide Tolling Agreement(s)
Dismiss not reconvert




D Reserves right to Recall for additional reasons
181 If 100% language is removed, Debtor to provide documents/resolve issues on all prior deficiencies
contemporaneously with filing of amended plan and Trustee reserves the right to recall the meeting of creditors.
D Documents not provided at least 7 days prior to 341 meeting; additional proof and information may be
necessary. Trustee reserves the right to recall the meeting of creditors as documents were not timely provided.

I hereby certifY that a true and correct copy of the foregoing was served through ECF on the debtor's attorney or by U.S. First
Class pre-paid Mail on the pro se debtor on the same day filed with the Court.
                                                                                         Submitted by: NANCY K. NEIDICH, ESQ
                                                                                         STANDING CHAPTER 13 TRUSTEE
                                                                                         P.O. BOX 279806, MIRAMAR, FL 33027
                                                                                         (954) 443-4402




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